
66 So.3d 486 (2011)
In re Krystal Denise RICHARDSON.
No. 2011-B-1705.
Supreme Court of Louisiana.
July 29, 2011.

ORDER
Considering the Joint Petition for Interim Suspension filed by respondent, Krystal Denise Richardson, and the Office of Disciplinary Counsel,
IT IS ORDERED that Krystal Denise Richardson, Louisiana Bar Roll number 26746, be and she hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.3, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
FOR THE COURT:
/s/ Marcus R. Clark
/s/ Justice, Supreme Court of Louisiana
